             Case 19-80030-dd          Doc 3      Filed 04/25/19 Entered 04/25/19 15:24:51                Desc Main
                                                   Document     Page 1 of 3                                          Judge:
                                                                                                           Hearing Location:
                                                                                                              Hearing Date:
                                                                                                              Hearing Time:
                                                                                                            Response Date:


                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF SOUTH CAROLINA

 IN RE: Karen Lucas Poole                                        CASE NO: 18-01760-dd

                                                                 ADVERSARY CASE NO: 19-80030-dd
Karen Lucas Poole,
v.                                                               CERTIFICATE OF SERVICE
                                                                 DECLARATION OF MAILING
TitleMax of South Carolina d/b/a TitleMax
                                                                 Chapter: 13




On 4/25/2019, I did cause a copy of the following documents, described below,
Summons and Complaint




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
com, a Administrative Office of the United States Bankruptcy Courts, Approved Notice Provider. A copy of the declaration
of service is attached hereto and incorporated as if fully set forth herein.

DATED: 4/25/2019
                                                          /s/ Jane H. Downey
                                                          Jane H. Downey
                                                          Moore Taylor Law Firm, P.A.
                                                          PO Box 5709
                                                          West Columbia, SC 29171
                                                          803 796 9160
             Case 19-80030-dd          Doc 3     Filed 04/25/19 Entered 04/25/19 15:24:51                Desc MainJudge:
                                                  Document     Page 2 of 3                                 Hearing Location:
                                                                                                              Hearing Date:
                                                                                                              Hearing Time:
                                                                                                            Response Date:



                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF SOUTH CAROLINA


 IN RE: Karen Lucas Poole                                       CASE NO: 18-01760-dd

                                                                ADVERSARY CASE NO: 19-80030-dd
Karen Lucas Poole,
v.                                                              CERTIFICATE OF SERVICE
TitleMax of South Carolina d/b/a TitleMax                       Chapter: 13




On 4/25/2019, a copy of the following documents, described below,
Summons and Complaint




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Certificate of Service and
that it is true and correct to the best of my knowledge, information, and belief.

DATED: 4/25/2019


                                                             /s/ Jay S Jump
                                                             BK Attorney Services, LLC
                                                             d/b/a certificateofservice.com, for
                                                             Jane H. Downey
                                                             Moore Taylor Law Firm, P.A.
                                                             PO Box 5709
                                                             West Columbia, SC 29171
            Case 19-80030-dd
PARTIES DESIGNATED AS "EXCLUDE" WEREDoc
                                     NOT 3SERVED
                                              Filed
                                                  VIA04/25/19    Entered
                                                      USPS FIRST CLASS MAIL04/25/19 15:24:51    Desc Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document        Page 3 of 3
CERTIFIED                                CERTIFIED
7019 0140 0000 8041 5019                 7019 0140 0000 8041 5026
CT CORPORATION SYSTEM                    TITLEMAX OF SOUTH CAROLINA, INC. D/B/A
ATTN: REGISTERED AGENT FOR TITLEMAX OF   TITLEMAX
SOUTH CAROLINA, INC.                     ATTN: OFFICER OR MANAGING AGENT
2 OFFICE PARK COURT, STE. 103            15 BULL STREET, STE. 200
COLUMBIA SC 29223                        SAVANNAH GA 31401
